     Case 5:17-cv-01829-DMG-JC Document 14 Filed 11/30/21 Page 1 of 2 Page ID #:1700



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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11     MARLON ALBERTO MORALES,              )   Case No. CV 17-01829-DMG-JC
                                            )
12                                          )
                           Petitioner,      )
13                                          )   ORDER ACCEPTING FINDINGS,
                     v.                     )   CONCLUSIONS, AND
14                                          )   RECOMMENDATIONS OF
                                            )   UNITED STATES MAGISTRATE
15     WARDEN RAYMOND MADDEN,               )   JUDGE
                                            )
16                                          )
                          Respondent.       )
17 ________________________________
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         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition for Writ of
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   Habeas Corpus by a Person in State Custody (“Petition”) and all of the records
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   herein, including the July 13, 2021 Report and Recommendation of United States
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   Magistrate Judge (“Report and Recommendation”), and petitioner’s objections to
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   the Report and Recommendation (“Objections”). The Court has further made a de
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   novo determination of those portions of the Report and Recommendation to which
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   objection is made. The Court concurs with and accepts the findings, conclusions,
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   and recommendations of the United States Magistrate Judge and overrules the
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   Objections.
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     Case 5:17-cv-01829-DMG-JC Document 14 Filed 11/30/21 Page 2 of 2 Page ID #:1701



 1          IT IS HEREBY ORDERED that the Petition is denied on the merits, this
 2 action is dismissed with prejudice and Judgment be entered accordingly.
 3          IT IS FURTHER ORDERED that the Clerk serve copies of this Order and
 4 the Judgment herein on counsel for petitioner and respondent.
 5          IT IS SO ORDERED.
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 7 DATED: November 30, 2021
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 9                                  ________________________________________
10                                  DOLLY M. GEE
                                    UNITED STATES DISTRICT JUDGE
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